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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


 United States of America,
                                              Criminal No. 14-20800

 v.                                           Honorable Mark A. Goldsmith

 Gabriel Urzua Sanchez,

                    Defendant.

       Government’s Response in Opposition to Defendant’s Motion for a
                     Sentence Reduction (ECF No. 156)

       In March 2016 a jury convicted Gabriel Sanchez for his role orchestrating

 the delivery and attempted receipt of almost eight kilograms of cocaine, heroin,

 and methamphetamine. Sanchez’s mandatory minimum sentence was enhanced

 pursuant to 21 U.S.C. §§ 841 and 851 to 20 years due to his prior state conviction

 for possession of cocaine. This Court sentenced him to 240 months in prison.

 Sanchez now seeks a sentence reduction pursuant to 18 U.S.C. § 3582(c)(2). But

 the statute does not provide Sanchez the relief he seeks, and his motion should be

 denied.

                              Procedural Background

       After he was initially charged on a complaint, a grand jury returned an

 indictment against Sanchez charging him with conspiracy to possess with intent to

 distribute and to distribute controlled substances and attempted possession with
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 intent to distribute controlled substances (ECF No.10, PageID.15–18). On January

 5, 2015, the government filed a Notice of Penalty Enhancement, pursuant to 21

 U.S.C. § 851, which increased the statutory mandatory minimum penalty from 10

 to 20 years based on Sanchez’s prior Minnesota felony drug conviction for

 possession of cocaine. (ECF No.11, PageID.20–22; PSR ¶ 34). Following a trial, a

 jury returned verdicts of guilty on both counts. The jury further found that the

 conspiracy and Sanchez’s attempted possession of controlled substances involved

 50 grams or more of actual methamphetamine or 500 grams or more of

 methamphetamine, one kilogram or more of heroin, and more than 500 grams of

 cocaine. (ECF No. 61, PageID.201–03).

       At sentencing, on January 10, 2018, the Court determined that Sanchez’s

 advisory guideline range was 135–168 months (based on an offense level 32 and a

 criminal history category II), but because of the penalty enhancement his statutory

 minimum was 240 months. (ECF No.109, PageID.1239–40). The Court sentenced

 Sanchez to concurrent custodial terms of 240 months. (ECF No. 106,

 PageID.1226–27). Sanchez appealed and has collaterally attacked his conviction

 repeatedly without success. His current challenge to his sentence also fails.

                                      Argument

       Sanchez seemingly took a scattershot approach with his motion, citing case

 law from the Eight Circuit that may impact whether his prior drug offense would


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 still qualify as a predicate felony for a sentencing enhancement; 18 U.S.C. §

 3852(c)(2), that generally allows courts to reduce a sentence if an applicable

 amendment lowers a guideline range and applies retroactively; and guideline

 Amendment 782 that lowered the base offense level for drug offenses. But nothing

 Sanchez cited gives this Court the authority to reduce his sentence.

       Once a sentence is imposed it can only be modified in very narrow,

 qualifying circumstances. One such avenue is pursuant to 18 U.S.C. § 3852(c)(2),

 which allows district courts to reduce a prison term if a defendant’s guideline range

 is subsequently lowered by the Sentencing Commission and is consistent with

 applicable policy statements of the Commission. But for a defendant who has

 already been sentenced to benefit from a guideline change, it must be retroactive.

 A court’s power under § 3582(c)(2) thus depends in the first instance on the

 Commission’s decision not just to amend the Guidelines but to make the

 amendment retroactive.

       Some examples in recent history where such an amendment retroactively

 applied include 2011’s Amendment 750 that lowered the guidelines for crack

 cocaine offenses; 2014’s Amendment 782 that reduced drug sentencing guidelines

 by reducing most base offense levels by two; or 2023’s Amendment 821 that

 altered the application of how status points for individuals who committed an

 offense while on supervision were calculated and created a new guideline for


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 individuals without a criminal history, reducing their offense level by two points.

 The district court may have discretion to reduce a sentence under 18 U.S.C. §

 3852(c)(2) in those specific circumstances.

       However, unlike a recognized retroactive amendment to the guidelines,

 Sanchez seeks a sentence reduction from the Court because his prior cocaine

 possession conviction may no longer qualify as a predicate felony for a sentencing

 enhancement after the Eighth Circuit ruled that the Minnesota state statute

 prohibits more cocaine-related substances than federal law and is therefore

 broader. See United States v. Owen, 51 F4th 292 (8th Cir. 2022). The ruling limited

 which convictions count as “serious drug offense[s]” under the Armed Career

 Criminal Act. But this Court does not need to address the merits of whether

 Sanchez’s prior conviction would be considered a qualifying offense if he were

 charged today, and the government sought to enhance his sentence. Any ruling

 from the Eight Circuit regarding the qualifying predicated felonies does not equate

 to the Sentencing Commission lowering the applicable guideline range, which is

 the relief § 3582(c)(2) provides.

       Furthermore, a reduction in a defendant's term of imprisonment must also be

 consistent with the policy statements of the Sentencing Commission. A reduction

 in the defendant’s term of imprisonment is not consistent with the policy statement

 of the sentencing guidelines and therefore is not authorized under 18 U.S.C. §


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 3582(c)(2) “if . . . an amendment listed in subsection (d) does not have the effect of

 lowering the defendant’s applicable guideline range.” U.S.S.G. § 1B1.10(a)(2)(B).

 The “applicable guideline range” is defined in application note 1(A) as “the

 guideline range that corresponds to the offense level and criminal history category

 determined pursuant to § 1B1.1(a), which is determined before consideration of

 any departure provision in the Guidelines Manual or any variance.”

       Sanchez also specifically cites to Amendment 782 of the guidelines to

 support his motion. Amendment 782 lowered the penalties for most drug offenses

 by reducing base offense levels on the § 2D1.1 Drug Quantity Table by two levels.

 In Amendment 788, the Sentencing Commission authorized Amendment 782 to be

 applied retroactively to lower the sentences of previously sentenced inmates,

 effective November 1, 2015. But any change to qualifying predicates for a drug

 enhancement did not change Sanchez’s base offense level. Therefore, while

 Amendment 782 is a “covered amendment” under U.S.S.G. § 1B1.10(d), it does

 not help Sanchez.

       Sanchez seems to have incorrectly conflated a possible change to qualifying

 predicate felonies for a sentencing enhancement with a lowering of his guidelines.

 Sanchez also fails to cite any authority that supports the retroactive application of

 the narrowing of predicate offenses for his sentencing enhancement. In fact,

 analogous case law has held to the contrary. See United States v. Grayson, No. 10-


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 20388, 2020WL 3481646 at * 2 (June 26, 2020) (Parker, J.) (Court could not

 reduce defendant’s sentence pursuant to § 3582(c)(2) even though his prior felony

 conviction would not have qualified as a “felony drug offense” to enhance his

 statutory minimum under the First Step Act because it was not retroactive); Smith

 v. Ormond, No.18-5101, 2018 WL 7143637 at *1–2 (6th Cir. July 30, 2018) (Court

 rejected claim that a sentence pursuant to 21 U.S.C. § 841(b)(1)(A) could not be

 enhanced because it was not predicated upon offenses that categorically matched a

 Controlled Substances Act felony and therefore the prior sentenced was not

 “misapplied”).

                                    Conclusion

       This Court should deny Sanchez’s motion.

                                        Respectfully submitted,

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  Dated: November 26, 2024




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                               Certificate of Service

       I hereby certify that after I filed the foregoing document with the Clerk of

 the Court using the CM/ECF system a representative from the U.S. Attorney’s

 Office mailed a copy to the following address:

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                                              s/Andrea Hutting
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